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12
                                      UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14
                                            SAN FRANCISCO DIVISION
15
16   BRAYDEN STARK, JUDD OOSTYEN,                      Case No. 3:22-cv-03131-JCS
17   ISAAC BELENKIY, VALERIE BURTON,
     LAURA GOODFIELD, and DENOVIAS                     STIPULATION AND [PROPOSED] ORDER
18   MACK, individually and on behalf of all others    TO SUSPEND CASE DEADLINES AND
     similarly situated,                               SCHEDULE A STATUS CONFERENCE
19
20                            Plaintiffs,
           v.
21
     PATREON, INC.,
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23                            Defendant.

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     STIPULATION AND [PROPOSED] ORDER TO SUSPEND CASE DEADLINES AND SCHEDULE
                               A STATUS CONFERENCE
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 1                                                 STIPULATION
 2          Pursuant to Civil Local Rule 6-2, Plaintiffs Brayden Stark, Judd Oostyen, Isaac Belenkiy,
 3   Valerie Burton, Laura Goodfield, and Denovias Mack (“Plaintiffs”) and Defendant Patreon, Inc.
 4   (“Patreon”) jointly stipulate as follows:
 5          WHEREAS, the parties mediated before the Honorable Jeremy D. Fogel (Ret.) on June 27, 2023,
 6   November 20, 2023, March 5, 2024, and April 16, 2024;
 7          WHEREAS, the parties have reached an agreement in principle on terms to resolve this action;
 8          WHEREAS, the parties require additional time to prepare and execute a formal settlement
 9   agreement that embodies their agreement in principle;
10          WHEREAS, on April 14, 2023, the Court entered a scheduling order setting July 10, 2024, as the
11   close of fact discovery (Dkt. No. 65);
12          WHEREAS, on February 12 and March 5, 2024, the Court entered orders setting: (1) an April
13   29, 2024 deadline for Plaintiffs to file their motion for class certification; (2) a June 12, 2024 deadline
14   for Patreon to file its opposition; (3) a July 10, 2024 deadline for Plaintiffs to file their reply; (4) a
15   hearing on Plaintiffs’ motion for class certification on August 16, 2024; and (5) additional deadlines
16   governing the designation of experts and expert discovery (Dkt. Nos. 124, 138);
17          WHEREAS, in view of the impending case deadlines, the parties wish to conserve judicial and
18   party resources and focus their efforts to finalizing the settlement of this action;
19          WHEREAS, the parties anticipate that within 60 days they will have executed a final settlement
20   agreement and Plaintiffs will be prepared to file their motion for preliminary approval of the settlement.
21          NOW THEREFORE, subject to the Court’s approval, the parties hereby stipulate and agree to,
22   and respectfully request that the Court enter an order suspending all case deadlines (see Dkt. Nos. 65,
23   124, and 138), setting a status conference for May 29, 2024, or as soon thereafter as is convenient for
24   the Court, and establishing June 28, 2024 (or another appropriate date) as the deadline by which the
25   parties will have executed a final settlement agreement and Plaintiffs will submit their motion for
26   preliminary approval of the settlement. A proposed Order granting the foregoing relief appears beneath
27   the signature blocks.
28          IT IS SO STIPULATED.
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     STIPULATION AND [PROPOSED] ORDER TO SUSPEND CASE DEADLINES AND SCHEDULE
                               A STATUS CONFERENCE
                              CASE NO. 3:22-cv-03131-JCS
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 1   Dated: April 29, 2024                   Respectfully submitted,
 2                                           By: /s/ Simon S. Grille             d
                                             Adam E. Polk (SBN 273000)
 3
                                             Simon S. Grille (SBN 294914)
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                                             Counsel for Plaintiffs
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13
     Dated: April 29, 2024                   By: /s/ Nathan Walker
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                                             PATREON, INC.
26
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     STIPULATION AND [PROPOSED] ORDER TO SUSPEND CASE DEADLINES AND SCHEDULE
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 1                                               ATTESTATION
 2          I, Simon Grille, am the ECF User whose ID and password are being used to file this document.
 3   In compliance with Civil L.R. 5-1(i)(3), I hereby attest that all counsel have concurred in this filing.
 4
 5
 6   Dated: April 29, 2024                                /s/ Simon Grille
                                                          Simon Grille
 7
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 9
                                             [PROPOSED] ORDER
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11   PURSUANT TO STIPULATION, THE COURT ORDERS AS FOLLOWS:

12          All existing case deadlines are VACATED. The parties will execute a final settlement

13   agreement and Plaintiffs will submit their motion for preliminary approval of the settlement by June 28,

14   2024. The Court sets a Status Conference for May 31, 2024, at 2:00 PM by Zoom Webinar. Zoom

15   Webinar ID: 161 926 0804. Passcode: 050855.

16          IT IS SO ORDERED AS MODIFIED.

17
18   Dated: April 30, 2024                        By: _______________________________
                                                      Honorable Joseph C. Spero
19                                                    United States Magistrate Judge
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     STIPULATION AND [PROPOSED] ORDER TO SUSPEND CASE DEADLINES AND SCHEDULE
                               A STATUS CONFERENCE
                              CASE NO. 3:22-cv-03131-JCS
